     Case 4:18-cv-02726 Document 6 Filed on 11/12/18 in TXSD Page 1 of 10



                      IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

Jon Chapman,                                  §
      Plaintiff,                              §
                                              §
v.                                            §      Civil Action No. 4:18-CV-02726
                                              §
Texas Department of Family and                §
Protective Services,                          §
        Defendant.                            §


              Defendant Texas Department of Family and Protective Services’
              Original Answer and Defenses to Plaintiff’s Original Complaint


         Defendant Texas Department of Family and Protective Services (“Defendant,” or

“DFPS”), respectfully files its Original Answer to Plaintiff Jon Chapman’s Original

Complaint (“Complaint”) and shows the Court as follows:

                                ANSWER TO COMPLAINT

         Pursuant to Federal Rule of Civil Procedure 8(d), Defendant denies each and every

allegation contained in the Complaint except for those expressly admitted herein. The

headings and numbered paragraphs below directly correlate to the sections and numbered

paragraphs of the Complaint. Those titles and headings are reproduced in this Answer for

organizational purposes only, and Defendant does not admit any matter contained therein.

                                           SUMMARY

         1.      Defendant admits that Plaintiff served as a Program Administrator in the

Special Investigations Division of DFPS. Defendant denies the remaining allegations in

Paragraph 1 of the Complaint.

         2.      Defendant denies the allegations in Paragraph 2 of the Complaint.


Defendant’s Original Answer and Defenses                                             Page 1
  Case 4:18-cv-02726 Document 6 Filed on 11/12/18 in TXSD Page 2 of 10



        3.      Defendant admits that Plaintiff was not interviewed during the investigation

conducted by DFPS. Defendant denies the remaining allegations in Paragraph 3 of the

Complaint.

        4.      Defendant admits that DFPS demoted Plaintiff from Program Administrator

for Special Investigations to CPS Special Investigations Investigator IV, effective February

15, 2018. Defendant denies the remaining allegations in Paragraph 4 of the Complaint.

        5.      Paragraph 5 contains assertions of law, conclusory statements, and/or

argument to which no response is required. To the extent that this Paragraph contains any

factual allegations requiring a response, Defendant denies the allegations in this Paragraph.

        6.      Paragraph 6 contains assertions of law, conclusory statements, and/or

argument to which no response is required. To the extent that this Paragraph contains any

factual allegations requiring a response, Defendant denies the allegations in this Paragraph.

                          THE PARTIES AND JURISDICTION

        7.      Paragraph 7 contains assertions of law, conclusory statements, and/or

argument to which no response is required. To the extent that this Paragraph contains any

factual allegations requiring a response, Defendant lacks sufficient knowledge or

information to form a belief about the truth of the remaining allegations contained in this

Paragraph, and on that basis denies the allegations in their entirety.

        8.      Defendant admits that the Texas Department of Family and Protective

Services is a state agency and that Defendant has operations within the Houston Division

of the Southern District of Texas.

        9.      Defendant admits the allegations in Paragraph 9 of the Complaint.

        10.     Paragraph 10 contains assertions of law, conclusory statements, and/or



Defendant’s Original Answer and Defenses                                               Page 2
  Case 4:18-cv-02726 Document 6 Filed on 11/12/18 in TXSD Page 3 of 10



argument to which no response is required. To the extent that this Paragraph contains any

factual allegations requiring a response, Defendant admits that, as a general matter, 28

U.S.C. § 1331 grants this Court jurisdiction to hear federal questions. Defendant denies

that it has committed any violation of applicable law or that Plaintiff has otherwise

demonstrated this Court’s subject matter jurisdiction over any claims against Defendant.

        11.     Paragraph 11 contains assertions of law, conclusory statements, and/or

argument to which no response is required. To the extent that this Paragraph contains any

factual allegations requiring a response, Defendant admits that, as a general matter, 28

U.S.C. § 1331 grants this Court jurisdiction to hear federal questions. Defendant denies

that it has committed any violation of applicable law or that Plaintiff has otherwise

demonstrated this Court’s subject matter jurisdiction over any claims against Defendant.

        12.     Paragraph 12 contains assertions of law, conclusory statements, and/or

argument to which no response is required. To the extent that this Paragraph contains any

factual allegations requiring a response, Defendant admits that, as a general matter, 28 U.S.C.

§ 1391(b) addresses the appropriate venue for cases over which this Court may have

jurisdiction, including that “[a] civil action may be brought in . . . a judicial district in which a

substantial part of the events or omissions giving rise to the claim occurred, or a substantial

part of property that is the subject of the action is situated.” Defendant denies that it has

committed any violation of applicable law.

                                 FACTUAL BACKGROUND

        13.     Defendant admits that Plaintiff served as a Program Administrator in the

Special Investigations Division of DFPS. Defendant denies the remaining allegations in

Paragraph 13 of the Complaint.

        14.     Defendant lacks sufficient knowledge or information to form a belief about

Defendant’s Original Answer and Defenses                                                      Page 3
  Case 4:18-cv-02726 Document 6 Filed on 11/12/18 in TXSD Page 4 of 10



the remaining allegations contained in this Paragraph, and on that basis denies the

allegations in their entirety.

        15.     Defendant admits that Plaintiff was not interviewed during the investigation

conducted by DFPS. Defendant denies the remaining allegations in Paragraph 15 of the

Complaint.

        16.     Defendant admits that DFPS demoted Plaintiff from Program Administrator

for Special Investigations to CPS Special Investigations Investigator IV, effective February

15, 2018. Defendant denies the remaining allegations in Paragraph 16 of the Complaint.

        17.     Defendant denies the allegations in Paragraph 17 of the Complaint.

        18.     Defendant denies the allegations in Paragraph 18 of the Complaint.

        19.     Defendant denies the allegations in Paragraph 19 of the Complaint.

        20.     Defendant denies the allegations in Paragraph 20 of the Complaint.

        21.      Defendant denies the allegations in Paragraph 21 of the Complaint.

        22.     Paragraph 22 contains assertions of law, conclusory statements, and/or

argument to which no response is required. To the extent that this Paragraph contains any

factual allegations requiring a response, Defendant denies the allegations in this Paragraph.

        23.     Paragraph 23 contains assertions of law, conclusory statements, and/or

argument to which no response is required. To the extent that this Paragraph contains any

factual allegations requiring a response, Defendant denies the allegations in this Paragraph.

        24.     Defendant lacks sufficient knowledge or information to form a belief about

the remaining allegations contained in this Paragraph, and on that basis denies the

allegations in their entirety.




Defendant’s Original Answer and Defenses                                               Page 4
  Case 4:18-cv-02726 Document 6 Filed on 11/12/18 in TXSD Page 5 of 10



               TITLE VII CLAIMS OF RACE AND SEX DISCRIMINATION

A.       Legal Standards

         25.     Defendant repeats and reaffirms its answers to each and every allegation

contained in the paragraphs above and incorporates the same herein as though fully set

forth.

         26.     Paragraph 26 contains assertions of law, conclusory statements, and/or

argument to which no response is required. To the extent that this Paragraph contains any

factual allegations requiring a response, Defendant denies the allegations in this Paragraph.

         27.     Paragraph 27 contains assertions of law, conclusory statements, and/or

argument to which no response is required. To the extent that this Paragraph contains any

factual allegations requiring a response, Defendant denies the allegations in this Paragraph.

         28.     Paragraph 28 contains assertions of law, conclusory statements, and/or

argument to which no response is required. To the extent that this Paragraph contains any

factual allegations requiring a response, Defendant denies the allegations in this Paragraph.

         29.     Paragraph 29 contains assertions of law, conclusory statements, and/or

argument to which no response is required. To the extent that this Paragraph contains any

factual allegations requiring a response, Defendant denies the allegations in this Paragraph.

         30.     Paragraph 30 contains assertions of law, conclusory statements, and/or

argument to which no response is required. To the extent that this Paragraph contains any

factual allegations requiring a response, Defendant denies the allegations in this Paragraph.

         31.     Paragraph 31 contains assertions of law, conclusory statements, and/or

argument to which no response is required. To the extent that this Paragraph contains any

factual allegations requiring a response, Defendant denies the allegations in this Paragraph.



Defendant’s Original Answer and Defenses                                               Page 5
  Case 4:18-cv-02726 Document 6 Filed on 11/12/18 in TXSD Page 6 of 10



         32.    Paragraph 32 contains assertions of law, conclusory statements, and/or

argument to which no response is required. To the extent that this Paragraph contains any

factual allegations requiring a response, Defendant denies the allegations in this Paragraph.

B.       Analysis

         33.    Defendant repeats and reaffirms its answers to each and every allegation

contained in the paragraphs above and incorporates the same herein as though fully set

forth.

         34.    Paragraph 34 contains assertions of law, conclusory statements, and/or

argument to which no response is required. To the extent that this Paragraph contains any

factual allegations requiring a response, Defendant denies the allegations in this Paragraph.

C.       Damages

         35.    Defendant repeats and reaffirms its answers to each and every allegation

contained in the paragraphs above and incorporates the same herein as though fully set

forth.

         36.    Paragraph 36 contains assertions of law, conclusory statements, and/or

argument to which no response is required. To the extent that this Paragraph contains any

factual allegations requiring a response, Defendant denies the allegations in this Paragraph.

         37.    Paragraph 37 contains assertions of law, conclusory statements, and/or

argument to which no response is required. To the extent that this Paragraph contains any

factual allegations requiring a response, Defendant denies the allegations in this Paragraph.

         38.    Paragraph 38 contains assertions of law, conclusory statements, and/or

argument to which no response is required. To the extent that this Paragraph contains any

factual allegations requiring a response, Defendant denies the allegations in this Paragraph.



Defendant’s Original Answer and Defenses                                               Page 6
  Case 4:18-cv-02726 Document 6 Filed on 11/12/18 in TXSD Page 7 of 10



Defendant further denies that any relief is appropriate or warranted.

39.     Paragraph 39 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual

allegations requiring a response, Defendant denies the allegations in this Paragraph.

Defendant further denies that any relief is appropriate or warranted.

                                       JURY DEMAND

40.     Defendant admits that Plaintiff seeks a trial by jury. Defendant denies that any

relief is appropriate or warranted.

                                 DAMAGES AND PRAYER

        Defendant denies that any relief sought by Plaintiff in paragraphs (a)-(h) in the

“Damages and Prayer” section of his Complaint is appropriate or warranted.

                                           DEFENSES

Defendant asserts the following defenses:

        1.      Defendant asserts the affirmative defense of sovereign immunity, to the

extent applicable.

        2.      Defendant asserts the affirmative defense of limitations, to the extent

applicable.

        3.      Plaintiff fails to state claims upon which relief can be granted.

        4.      Any alleged actions taken against Plaintiff were based on neutral, non-

discriminatory, non-retaliatory practices.

        5.      Adverse employment actions taken with regard to Plaintiff, if any, were

based solely on information, observation, or evidence unrelated to his protected activities,

if any, and would have been taken regardless of Plaintiff’s protected activities, if any.



Defendant’s Original Answer and Defenses                                               Page 7
  Case 4:18-cv-02726 Document 6 Filed on 11/12/18 in TXSD Page 8 of 10



          6.     Defendant asserts that it acted in good faith and without malice, willfulness,

or intent.

          7.     Any challenged action, practice or policy taken against Plaintiff was taken

for a legitimate business or governmental operations reason.

          8.     At all relevant times, Defendant took reasonable steps to prevent and

promptly correct any harassment in the workplace, and Plaintiff unreasonably failed to take

advantage of Defendant’s preventive or corrective measures.

          9.     Plaintiff’s damages are subject to the applicable cap on damages as required

by law.

          10.    Plaintiff has failed to avoid or mitigate his damages as required by law.

          11.    Plaintiff’s own acts and/or omissions caused or contributed to his injuries,

if any.

          12.    Defendant reserves the right to assert additional affirmative defenses at a

later date as such defenses become known to Defendant throughout the course of litigation.

                                           PRAYER

          Defendant prays that Plaintiff take nothing by this suit, that all costs be taxed and

adjudged against Plaintiff, and that Defendant be granted such other relief to which it may

be justly entitled.




Defendant’s Original Answer and Defenses                                                 Page 8
  Case 4:18-cv-02726 Document 6 Filed on 11/12/18 in TXSD Page 9 of 10



                                           Respectfully submitted.

                                           KEN PAXTON
                                           Attorney General of Texas

                                           JEFFREY C. MATEER
                                           First Assistant Attorney General

                                           BRANTLEY STARR
                                           Deputy First Assistant Attorney General

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                                           Litigation

                                           DAVID A. TALBOT, JR.
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                                           /s/ Michael R. Abrams
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                                           Counsel for Defendant




Defendant’s Original Answer and Defenses                                         Page 9
 Case 4:18-cv-02726 Document 6 Filed on 11/12/18 in TXSD Page 10 of 10



                               CERTIFICATE OF SERVICE
       I hereby certify that a true and correct copy of the foregoing instrument has been
served electronically through the Court’s CM/EFC system on this the 12th day of
November, 2018, to:

        Ahad Khan
        AHAD KHAN LAW
        712 Main Street, Suite 900
        Houston, TX 77002
        ak@ahadkhanlaw.com


                                            /s/ Michael R. Abrams
                                            Michael R. Abrams
                                            Assistant Attorney General




Defendant’s Original Answer and Defenses                                          Page 10
